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Independent, Non-Partisan Erie County Legislative Redistricting Plan

MEMORANDUM

To: Adam Perry, Chairman
Erie County Reapportionment Commission
Erie County Legislature
92 Franklin Street
Buffalo, NY 14202

From: Dr. Michael Halberstam, Associate Professor, UB Law School
' Mr. Patrick Fitzgerald, UB Law School, Class of 2011

Date: May 6, 2011

Re: Independent, Non-Partisan Erie County Legislative Redistricting Plan

We hereby submit an independent, non-partisan legislative redistricting plan to the Erie
County Legislature and its Legislative Reapportionment Advisory Committee. We
recommend that the legislature adopt this plan for the upcoming 2011 elections.

Attached are (1) hard copies of relevant data and district maps, including maps with street
names, (3) electronic files of the data and maps in excel spreadsheet and PDF formats,
and (4) electronic “shape files” of the plan that election officials can use for reproducing
and operationalizing the complete plan with specialized software. The “shape files” are
also important for experts to compare and analyze various features of the plan, such as
exact district boundaries, precinct locations, etc.

Background

This plan was developed by an independent, nonpartisan group at UB Law School in
close consultation with experts at the ACLU’s national Voting Rights Project. The
ACLU's national Voting Rights Project is an independent and nonpartisan voting rights
advocacy group with substantial experience and technical expertise in redistricting, The
ACLU has participated in drafting dozens of congressional and state legislative plans and
innumerable local redistrictings since the 1970s. Its staff has been one of the most active
and well-respected nongovernmental participants in redistricting during the past 40 years.

In conjunction with the decennial U.S. Census, the one-person/one-vote rule necessitates
reapportionment of election districts to account for changes in population. A highly

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political process for Erie County has potentially been rendered even more contentious
during this redistricting cycle, because the reduction of the Erie County legislature from a
15-member to an 1 1-member body will cause four incumbents to lose their seats pitting
incumbents against one another.

Purpose

The purpose of this submission is to provide an independent; nonpartisan, expert
redistricting plan that is not motivated by the pursuit of electoral gains for any particular
incumbent, but preserves communities of interest and protects against minority vote
dilution, even as it creates more competitive election districts in the City of Buffalo
itself.' The Independent Nonpartisan Plan redistricts Erie County into 11 legislative
districts while adhering to constitutional, federal, state, and local principles and rules,
including one-person/one-vote, the Voting Rights Act, the New York Home Rule Law,
and the Erie County Charter.

Features of the Independent Nonpartisan Plan

One-Person/One-Vote

The Independent, Nonpartisan Plan divides the population of Erie County into 11,
roughly equipopoulous districts. With a total population of 916,040 based on 2010 U.S.
Census figures, each district therefore comprises an average of around 83,280 persons.
Under federal law, state and local districting plans with a total population deviation under
10 % are presumptively constitutional? The Independent Nonpartisan Plan maintains an
overall 8.7 % deviation, with the greatest population in District 8 (population of 88,226)
and the lowest population in District 4 (population of 80,957). It therefore satisfies the
federal constitutional requirement of one-person/one-vote.

Minority Vote Dilution

The Independent Nonpartisan Plan creates minority-opportunity districts, or majority-
minority districts, in District 2 and District 7. Our decision to include two minority
opportunity districts with approximately 51% and 55% minority voting age populations,
respectively, was motivated by the following considerations.

1 Herinafter, the “Independent Nonpartisan Plan.”
2 White v. Regester, 412 U.S. 755, 764 (1973); Brown v. Thomson, 462 US. at 842-
43; Cox v. Larios, 542 US. 947 (2004).

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Section 2 of the Voting Rights Act provides that a voting practice is unlawful if it
“results” in discrimination, that is, if, based on the totality of circumstances, it provides
minorities with “less opportunity than other members of the electorate to participate in
the political process and to elect representatives of their choice.” 42 U.S.C. § 1973(b)
(2006). Creating minority-opportunity districts in response to concerns about minority
vote dilution reflects the tenets of the Voting Rights Act, because such districts give
minority groups a realistic opportunity to elect candidates of their choice.°

The previous 15-district legislative plan included two majority-minority districts: District
3 with a 73 % African American population, and District 7 with a 68 % African
American population. The current benchmark (the previous plan with the 2010 census
data) demonstrates that both districts still remain above 70 % African American. .

In the Independent Nonpartisan Plan, we were able to draw what we believe to be two
politically cohesive, geographically compact minority-opportunity districts that exceed
the 50 % minority voting age population threshold set by the Supreme Court. Drawing
these two districts avoids a potential violation of the Voting Rights Act’s proscription
‘against minority vote dilution.

We were able to draw Districts 2 and 7 and still keep together almost all towns and
villages with a population below around 83,000. Although subordinate to the Voting
Rights Act, our goal was to respect the New York Home Rule law’s prescription to keep
villages and towns of a certain size intact.

The Supreme Court prohibits racial gerrymanders, especially districts that are unusual
and “bizarrely” shaped. The majority minority districts we draw are contiguous,
compact, are both located in the City of Buffalo, and make sense.

Finally, all other things being equal, we considered the competitiveness of the districts in
our decision to draw two, rather than one, majority minority district. Rather than pack
one district with a minority voting age population of 65% and above, thus creatinga __
“safer” seat for a single minority incumbent, the Independent Nonpartisan Plan creates
two, more competitive majority minority districts in the City of Buffalo. The plan does
so, even as it complies with the Supreme Court’s requirement in Bartlett v. Strickland,
that a majority-minority district mandated by Section 2 be comprised of a geographically
compact minority population that exceeds 50% MVAP.*

* Thornburg v. Gingles, 478 U.S. 30 (1986); Growe v. Emison, 507 U.S. 25 (1993).

4 Bartlett v. Strickland, 129 S. Ct. 1231, 1249 (2009) (“Only when a geographically
compact group of minority voters could form a majority in a single-member district
has the first Gingles requirement been met.”}

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District 2 in this plan is a minority opportunity district that relies on a coalition between
African American and Hispanic voters to afford them the opportunity to elect a candidate
of their choice.

‘In drawing the coalition district, we considered the following. The previous plan
included two minority-opportunity districts. Due to the reduction of legislative districts
from 15 to 11, however, it was no longer possible to draw two minority-opportunity
districts with an African-American voting age population over 50 %, as required by the
Supreme Court. On the other hand, reducing minority representation in the legislature
and/or packing a single district with more than 65 % African-American voting age
population — a result that was more likely if we failed to draw the coalition district —
could raise independent concerns about minority vote dilution. It might be read as an
illegitimate attempt to reduce the overall representation of minorities in the legislature —
especially in connection with the downsizing of the Erie County Legislature. This
coalition district -- as far as we are able to ascertain based on reliable existing data -- is
permissible and does not violate any federal or state laws.

In a decision upheld in relevant respects by the Second Circuit, the U.S. District Court for
the Northern District of New York, has held that “African-Americans and Hispanics may
be considered as a single minority group under the Voting Rights Act if the coalition
meets the three Gingles preconditions.”” The Gingles preconditions are (1) whether the
minority group is sufficiently large and geographically compact to constitute a majority
in a single-member district; (2} whether the minority group is politically cohesive, ie.,
tends to vote as a bloc; and (3) whether the majority votes sufficiently as a bloc to enable
it - in the absence of special circumstances . . . usually to defeat the minority’s preferred
candidate.”* The Independent Nonpartisan Plan draws a coalition district that is
contiguous and geographically compact. The choice of the coalition district also reflects
an assumption of political cohesion among African Americans and Hispanics in new
District 2, for which, at this time, we have only anecdotal evidence. Again, as far as we
are able to ascertain based on reliable existing data, District 2 is permissible, and does not
violate federal or state laws.

Compactness, Contiouity, and the New York Home Rule Law

Careful consideration was taken to ensure compact and contiguous districts while making
every attempt to follow the New York Home Rule Law’s prescription to keep villages
and towns of a certain size together. Under New York’s Municipal Home Rule law, Erie

° Arbor Hill Concerned Citizens Neighborhood Ass'n. v. County of Albany, 2003 WL
21524820, at *5 (N.D.N.Y. July 7, 2003).
& Id. at *4,

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County is granted the power to adopt or amend a plan of reapportionment. N.Y. Mun.
Home Rule Law § 10 (McKinney 2010). In para. 13 of Section 10 four factors to be
considered in redistricting are listed according to their priority:

i. The plan shall provide substantially equal weight for the population of that local
government in the allocation of representation im the local legislative body.

ii. Insuch plan adopted by a county, no town except a town having more than one
hundred and ten per cent of a full ratio for each representative, shall be divided in
the formation of representation areas. Adjacent representation areas in the same
town or city shall not contain a greater excess in population than five per cent of a
full ratio for each representative.

iii. The plan shall provide substantially fair and effective representation for the
people of the local government as organized in political parties.

iv. Representation areas shall be of convenient and contiguous territory in as compact
form as practicable.

As already stated, this plan maintains an overall 8.7 % deviation and otherwise complies
with para. 13(a)(i) & (a)(i1)’s population requirements with only one exception. A very
small section of Tonawanda is broken up for a variety of reasons, including contiguity,
compactness and population size of Grand Island and the adjacent districts. In so doing,
the Independent Nonpartisan Plan conservatively follows the existing district lines
between Tonawanda, Amherst and the City as Buffalo, as closely as possible.

The Town of Cheektowaga is left intact with no splits in an attempt to maintain
communities of interest to the best extent possible.

CONCLUSION

The maps, documents, and electronic files attached have been developed so as to provide
the public with an accessible basis for comparison and election officials with all the
resources to operationalize and implement the plan. We emphasize that this plan is
independent, nonpartisan, and does not attempt to secure electoral gains for any particular
incumbent. It reflects the implications of legislative downsizing for the representation of
groups to the legislature. We believe that the Independent Nonpartisan Plan reflects a
reasonable negotiation of the conflicts that necessarily arise in redistricting Erie County.

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